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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                                   Case No. 20-cr-173 (WMW)

                      Plaintiff,

 v.                                                 POSITION REGARDING TO
                                                          SENTENCING
 Matthew Scott White,

                      Defendant.



       On August 18, 2020 a one-count Information was filed against Matthew White

charging him with arson in violation of 18 U.S.C. § 844(i) on occurring May 28, 2020.

Mr. White pleaded guilty on September 25, 2020 and was taken into custody pending

sentencing. Besides pleading early in the case to an information, Mr. White admitted his

involvement in the arson at the time of his arrest. He also cooperated fully with the

preparation of the pre-sentence report.

       With a three-level acceptance of responsibility reduction, Mr. White's base

offense-level is 21, and with a criminal history category of VI, Mr. White's guideline

range is 77-96 months of imprisonment. Harleysville Insurance Company covered the

loss to Enterprise Rent-A-Car in the amount of $664,358.14. There is a mandatory

minimum sentence of five years in this case.

       The offense conduct in this case is as follows: swept up in last year's protests over

the George Floyd death, Mr. White found himself outside of an Enterprise Rental office

in the Midway area of Saint Paul. Without much thought and jacked-up on adrenaline
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from being hit with a rubber bullet fired by a police officer, Mr. White entered the

building and put his lighter to papers in the building's office. After watching the fire burn

for a short period, Matthew left and roamed the area looking for other buildings to enter.

He entered another nearby business and stole some beer, then returned to his car and left

the area. He was arrested in short order and questioned by police. Matthew confessed to

setting the fire to law enforcement without asking for a lawyer. This was not an offense

that required much cunning or forethought.

IMPOSING A SENTENCE IN THE POST-BOOKER ERA UNDER § 3553(a):

       The criteria the Court should employ have surely been set forth in countless

sentencing memoranda, but the standard bears repeating. In the post-Booker era of federal

sentencing, the “Guidelines are not only not mandatory on sentencing courts; they are

also not to be presumed reasonable.” Nelson v. United States, 129 S.Ct. 890 (2009). Even

pre-Booker, it was “uniform and constant in the federal judicial tradition for the

sentencing judge to consider every convicted person as an individual and every case as a

unique study in the human failings that sometimes mitigate, sometimes magnify, the

crime and punishment to ensue.” Koon v. United States, 518 U.S. 81, 113 (1996).

However, in light of several recent Supreme Court cases, it is truly incumbent on the

sentencing court to “make an individualized assessment based on the facts presented” in

each case. Gall v. United States, 128 S.Ct. 586, 602 (2007). District Courts “may not

presume that the Guidelines range is reasonable.” Id. at 597.

       The Supreme Court in Booker held that the United States Sentencing Guidelines

are advisory and that District Courts must examine all the § 3553(a) factors in order to
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impose a sentence “sufficient, but not greater than necessary” to accomplish the goals of

sentencing. United States v. Booker, 543 U.S. 220 (2005). The trio of 2007 Supreme

Court cases made abundantly clear that District Courts must fashion individualized

sentences based on the unique facts and circumstances of each case, and that the

Guidelines emphatically do not enjoy a presumption of reasonableness. Gall v. United

States, 128 S.Ct. 586, 602 (2007)(probationary sentence substantially outside of

Guidelines was reasonable and justified); Kimbrough v. United States, 128 S.Ct. 558, 570

(2007)(sentencing courts may depart from Guidelines ranges based solely on policy

considerations, including disagreements with Guidelines drug sentencing policies); Rita

v. United States, 127, S.Ct. 2456, 2465 (2007)(sentencing courts may vary based on

arguments that Guidelines sentencing range itself fails to comport with § 3553(a)

factors). The thrust of Booker and its progeny is “that the District Court is free to make its

own reasonable application of the § 3553(a) factors, and to reject (after due

consideration) the advice of the Guidelines.” Kimbrough, 128 S.Ct. at 577 (Scalia, J.,

concurring).

       Because the District Court is in a uniquely “superior position to find facts and

judge their import under § 3553(a),” the Appellate Courts must now review all sentences

under an abuse-of-discretion standard, regardless of whether the sentence is inside or

outside the Guidelines range. Gall, 128 S.Ct. at 597, 602. The Supreme Court has

explicitly rejected the notion that extraordinary circumstances are required to justify a

sentence outside the Guidelines range. Id. at 595. “We also reject the use of a rigid

mathematical formula that uses the percentage of a departure as the standard for
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determining the strength of the justifications required for a specific sentence.” Id. So long

as sentences that differ from the Guidelines are justified, a sentencing court’s decision

stands unassailable on appeal. See, e.g., United States v. Jiminez-Gutierrez, 491 F.3d 923

(8th Cir.2007)(affirming substantial downward departure that was justified on record, and

noting that even where circuit courts disagree with the degree of a trial judge’s departure,

the discretion to make such decisions is within the sole province of the District Court);

United States v. Gonzalez-Alvorado, 477 F.3d 648, 650 (8th Cir.2007)(noting that a

sentence that varies from the Guidelines range is reasonable so long as the judge offers

appropriate justifications under § 3553(a) factors).

       After using the Guidelines to determine the initial benchmark and allowing the

parties to argue their respective positions, the Court should then make an individualized

assessment of the unique facts of the case based on the § 3553(a) factors. Gall, 128 S.Ct.

at 596-97. “After settling on the appropriate sentence, he must adequately explain the

chosen sentence to allow for meaningful appellate review and to promote the perception

of fair sentencing.” Id. at 597. Ultimately, this Court is charged with a duty to protect the

public, as well as the civil rights of the Defendant, with its experience, its wisdom, and

the discretion vested in it by the Constitution and Congress.

       “The court shall impose a sentence sufficient, but not greater than necessary, to

comply with the purposes” of sentencing. 18 U.S.C. § 3553.

                            MR. WHITE’S BACKGROUND

       Mr. White’s personal history is thoroughly set forth in his Pre-sentence Report, but

it is noteworthy to highlight two details: first, until he was detained post-guilty plea, Mr.
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White has complied with all of the multitude of release conditions set by the Court, as

well attending treatment and submitting to drug and alcohol tests. Second, as the Pre-

sentence Report reflects, until he was laid off due to the COVID pandemic, Mr. White

has demonstrated an ability to hold down a job as a carpenter. (In the undersigned’s

opinion, the ability to keep a job is the best indicator of future success once a defendant

leaves prison. An individual who knows how to get out of bed and get to work on time

already understands what is required to make it as a legitimate person going forward.)

         The Court is urged to read closely the letters and other materials submitted on

behalf of Mr. White. The only conclusion the reader can draw from this parade of

horribles is that Matthew never had a chance in life: no consistency; no structure; no

nurturing; no one to help him develop impulse control; parents who are deeply addicted

to drugs and alcohol, even during pregnancy - Matthew was essentially a throw-away

child.

         In her letter, Matthew's mother uses the phrase "intergenerational transmission of

violence and crime," to describe her children's upbringing - but that phrase that doesn't

begin to express the utter chaos in Matthew's world. As for Matthew's father, a normal

dad takes his kids camping or to Twins' baseball games. Matthew and his dad shot heroin

together - the reader can only picture that obscene scenario and shudder. It is more than

rhetorical question to ask how anyone can honestly hold Matthew morally responsible in

this case when he was handed a steady diet of instability, violence, and parental drug use

from day-one? That he would be standing before this Court on a very serious (yet

avoidable and foolish) federal criminal charge was written in the stars decades ago.
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       THE NEED FOR THE SENTENCE IMPOSED — § 3553(a)(2)(A)-(D)

       Statutory sentencing objectives require that a sentence reflect the seriousness of

the offense, promote respect for the law, provide just punishment, afford adequate

deterrence to criminal conduct, protect the public from further crimes of the defendant

and provide the defendant with needed education or vocational training, medical care and

other correctional treatment in the most effective manner. 18 U.S.C. 3553(a)(2)(A)–(D).

In this case, a sentence of not more than 77 months is sufficient, but not greater than

necessary to serve these goals.

       A sentence of 77 months would also promote respect for the law, because,

contrary to what many prosecutors argue, 77 months in a federal prison is an eternity. In

addition, to protect the public and promote respect for the law, a 77-month sentence

would provide just punishment. To be sure, the public deserves to see that crimes are

punished – that’s what helps enforce the social-contract and reinforces respect for the

law. But the punishment must be just. Matthew’s life has already been destroyed by a

merry-go-round of drugs, alcohol, and imprisonment. And he has had to tell his family

and children about his misconduct (again) and been held up to ridicule once again.

Warehousing him for anything more than 77 months serves no purpose.

       Defense counsel has seen no research that long sentences for crimes deter others

from committing similar crimes. To the contrary, prisons and jails in the United States are

swollen to capacity with offenders even decades after President Nixon launched his high-

profile war on crime. That is because deterrence via lengthy prison sentences is a fallacy -

people immersed in drugs and crime are not the type to read the crime section of the local
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paper, take note of Bureau of Prison statistics, or think that they will get caught like those

other mopes arrested in the streets. One person that will be deterred is Matthew White.

The point has surely been driven home that committing crimes such as arson is a serious

and utterly unacceptable crime. And now in his early-30s, he hardly seems to be the type

of person from whom the public will need protection from once he leaves federal prison.

       Finally, Matthew, more than anything else, needs continued treatment, counseling,

and additional educational and/or vocation training to provide him a path to being a

productive and law-abiding member of the community earning more than a minimum

wage. Surely a 77-month prison sentence is enough time to hold Matthew accountable

and equip him with the cognitive and work-skills to return to a legitimate life and provide

for his family.

                                     CONCLUSION:

       Based on the foregoing Matthew White respectfully asks that the Court to

sentence him to 77 months in prison. This term of imprisonment and the additional terms

and conditions of supervised release are sufficient, but not greater than necessary, to

serve the goals of the sentencing guidelines and the interests of society.

Dated: June 2, 2021                                       Respectfully submitted,


                                                          /s Paul Applebaum

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